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Custodian
Adamson, Keelan
Ajayi, Ibukun
Alarcon, Sergio
Allan, Rod
Allen, Reyna
Ambrose, Bill
Arceneaux, Ronnie
Bachand, Mark R.
Bandeko, Brian
Bell, Wesley
Bertone, Steven
Bjornestad, James
Blue, Mike
Bobillier, Arnaud
Bonno, Terry
Bondar, Silvestru
Booker, Rachel
Boone, John
Boughton, Geoff
Bradford, Wayne
Braniff, Barry
Briscoe, John
Broussard, Mark
Brown, Eric
Brown, Jason
Buisine, Jean‐Paul
Bullock, Jimmie
Burkett, Dana
Butefish, Stephanie
Butler, Gary
Cahuzac, Jean
Cameron, Dave
Canducci, Jerry
Cantwell, Guy Arthur
Carroll, John
Cherry, Elton
Childs, Greg
Clark, Ian
Cleaver, Marc
Clyne, Neil
Coan, Clayton D
Colby, Brian
Cooper, Harry
Cote, Scott
Coull, Gordon
Crain, Chad
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Decker, Matthew
Diekstra, Serge
Dreith, Mark
Dsane‐Selby, Rachael
Dukes, Billy Jean
DWH, AsstDriller (Deepwater Horizon)
DWH, Captain (Deepwater Horizon)
DWH, ChiefELTech (Deepwater Horizon)
DWH, ChiefMate (Deepwater Horizon)
DWH, CraneOper (Deepwater Horizon)
DWH, Deckpusher (Deepwater Horizon)
DWH, DPOperator (Deepwater Horizon)
DWH, Driller (Deepwater Horizon)
DWH, Electrician (Deepwater Horizon)
DWH, ElectSup (Deepwater Horizon)
DWH, ELTech (Deepwater Horizon)
DWH, FirstEngineer (Deepwater Horizon)
DWH, MaintSup (Deepwater Horizon)
DWH, Materials Coordinator (Deepwater Horizon)
DWH, Mechanic (Deepwater Horizon)
DWH, MechSup (Deepwater Horizon)
DWH, Medic (Deepwater Horizon)
DWH, MotorOper (Deepwater Horizon)
DWH, OIM (Deepwater Horizon)
DWH, RadioOper (Deepwater Horizon)
DWH, RSTC (Deepwater Horizon)
DWH, SafetyDel (Deepwater Horizon)
DWH, SubSeaSup (Deepwater Horizon)
DWH, Toolpusher (Deepwater Horizon)
DWH, Training (Deepwater Horizon)
Eshenroder, Gary
Ezell, Randy
Farr, Dan
Florence, Ewen
Foster, David
Fojt, Buddy
Fry, Michael
Fuentes, Esmeralda
Gallardo, Lorena
Garza, Vicki
Gouner, Ursula
Groeneweg, Estella
Guicheney, Patrick
Guidry, Ron
Hadaway, Troy
Hall, Eric
Hand, Steve
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Harris, Eric
Hart, Derek
Haslam, Dan
Hauf, Chuck
Hay, Mark
Hayes, Dennis
Hayes, Steve
Herrin, Bob
Hess, Adam
Hoang, Joseph
Hockaday, Wilton
Holman, Lawrence W
Holmes, Mike
Hudson, Ian
Humphrey, Danny
Husted, Daniel
Irwin, Nathan
Jeter, Robert
Johnson, Danny
Johnson, Georgianne
Johnson, Paul
Johnson, Robert
Jones, Jeff
Judkins, Jana
Kam, John
Keel, Jim
Keener, Chip
Keeton, John
Kent, James
Kenyon, Graham
King, Paul
Kluk, Daniel
Knight, Chris
Kozicz, John
Kutcha, Curt
Lamb, Keith
Leach, Gary
Leal, Johnny
Leslie, Eric
Levine, Jerry
Lewis, Ed
Lodge, Malcolm
Loftis, Terry
Loveland, Joshua
Lowe, Jim
MacDonald, John
MacKay, John
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Manning, Rodney
Markey, Mike
McAllister, Kathleen
McIntosh, Ryan
McMahan, Larry
Mendez, Rudy
Miller, Keith
Mills, Larry
Mohod, Abhijit
Moore, Jimmy
Moore, Sammy
Morgan, Christi
Morhardt, Ben
Morrison, Steve
Munoz, Dan
Munro, Mike
Myers, Steven
Newman, Steve
Nordholm, Art
Null, Heather
O'Brien, Mel
Ortiz, Carlos
Panagos, Greg
Parker, Theresa
Parr, James
Patil, Harshal
Patterson, Nick
Payne, Robert
Pearce, Bill
Pederson, Neal
Pelley, Darrel
Penny, James
Perez, Alejo David
Perez, Xavier
Phillips, Robert
Picard, Ray
Pirtle, Donnie
Pleasant, Chris
Ramsay, David
Rank, Darren
Redd, Eddy
Reid, Tony
Reudelhuber, Dan
Revis, Jewel
Richard, Sherry
Richards, Janice
Richards, Jess
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Richards, Ramsey
Richardson, Justin
Ritter, Bjoern
Roberts, Andrea
Roberts, Thad
Roddy, Amy
Rodrigues, Rene
Roller, Perrin
Romine, Lane
Rosa, Ricardo
Rose, Adrian
Ryan, Rodney
Salas, Regulo
Salgado, Camilia
Saltiel, Rob
Sannan, Bill
Sawyer, Roger
Schultz, Serge
Schwartz, Leon
Scott, Robert
Shackelford, Tom
Shifflet, Christopher
Shropshire, Glenn
Sivils, Randall D
Smith, Pharr
Smith, Ryan
Smith, Scott
Sneddon, Iain
Snider, Gill
Sparling, Steven
Stringfellow, William
Tanner, Carrie
Tatum, Charles
Thames, Steve
Thibodeaux, Mark
Thomson, Jeff
Tiano, Robert
Tolleson, Chris
Toma, Ihab
Tonnel, David
Tracey, Leon
Trahan, Buddy
Tranter, Paul
Truschinger, John
Turlak, Rob
Vankayalapati, Rajesh
Vinluan, Joel
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Voorhies, Neil
Walker, Steven
Walsh, Bob
Ward, Stephen
Watson, David
Watson, Simon
Weaver, Warren
Weber, Barry
Weingarth, Lew
Weiss, Kevin
White, Robert
Willey, Diane
Williams, Dean
Williams, Gary David
Williams, Tim
Wilson, Todd
Winslow, Daun
Wood, Lorna
Wright, Mike
Yi, Ramon
Yu, Michael Cheng
Zipp, Arjan
